4:08-cr-03178-RGK-CRZ          Doc # 255     Filed: 07/17/12     Page 1 of 1 - Page ID # 681




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )           4:08CR3178-2
                                               )
                      Plaintiff,               )
                                               )
       vs.                                     )
                                               )           ORDER
RASDANIEL ELIJAH ROLLIE,                       )
                                               )
                      Defendant.               )

       IT IS ORDERED that:


       (1)     The government’s request for hearing is granted.


       (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filings 114 and 253) has been set before the undersigned United States district
judge on Friday, August 17, 2012 at 1:00 p.m., in Courtroom No. 2, United States
Courthouse and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.


       (3)     The United States Marshal is directed to return the defendant to the district for
the hearing.


       Dated July 17, 2012.


                                            BY THE COURT:

                                            Richard G. Kopf
                                            Senior United States District Judge
